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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                          (State)                                                                                   ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                           amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Celsius Network LLC



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       121 River Street
                                       Number              Street                                     Number         Street

                                       PH05
                                                                                                      P.O. Box
                                       Hoboken                            NJ        07030
                                          City                            State     Zip Code          City                           State    Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Hudson County                                                  565            Fifth Street
                                          County
                                                                                                      Number         Street




                                                                                                      New York                       NY        10017
                                                                                                      City                           State    Zip Code




5. Debtor’s website (URL)                 https://celsius.network

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




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Debtor            Celsius Network LLC                                                 Case number (if known)
           Name



                                              A. Check One:
7.   Describe debtor’s business
                                              ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                              ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                              ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                              ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                              ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                              ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                              ☒ None of the above

                                              B. Check all that apply:
                                              ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                              ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                              ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5239

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                   ☐    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                   ☐    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                   ☐    A plan is being filed with this petition.
                                                   ☐    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                   ☐    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                   ☐    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




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Debtor           Celsius Network LLC                                                   Case number (if known)
          Name



10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒ Yes.                                                                      Relationship    Affiliate
                                                      Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                          District      Southern District of New York
   List all cases. If more than 1,                                                                                   When            07/13/2022
   attach a separate list.                          Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this       Check all that apply:
    district?
                                        ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                        ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         ☒ No
    possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                  ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?

                                                  ☐     It needs to be physically secured or protected from the weather.

                                                  ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                         (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                         other options).
                                                  ☐     Other


                                                  Where is the property?
                                                                                          Number        Street



                                                                                          City                               State       Zip Code



                                                  Is the property insured?
                                                  ☐ No

                                                  ☐ Yes.         Insurance agency

                                                                 Contact name
                                                                 Phone




                  Statistical and administrative information

13. Debtor's estimation of             Check one:
    available funds
                                       ☒ Funds will be available for distribution to unsecured creditors.
                                       ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of                ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                    ☐     50-99                        ☐       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)                ☐     100-199                      ☐       10,001-25,000                  ☒     More than 100,000
                                       ☐     200-999




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Debtor            Celsius Network LLC                                                 Case number (if known)
          Name



15. Estimated assets (on a            ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)               ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on         ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
    a consolidated basis)             ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         7/13/2022
                                                               MM/ DD / YYYY


                                               /s/ Alex Mashinsky                                                 Alex Mashinsky
                                               Signature of authorized representative of debtor                Printed name

                                               Title    Chief Executive Officer




18. Signature of attorney                      /s/ Joshua A. Sussberg                                         Date        7/13/2022
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Joshua A. Sussberg
                                               Printed name
                                               Kirkland & Ellis LLP
                                               Firm name
                                               601 Lexington Avenue
                                               Number               Street
                                               New York                                                               NY                10022
                                               City                                                                   State               ZIP Code

                                               (212) 446-4800                                                         joshua.sussberg@kirkland.com
                                               Contact phone                                                              Email address
                                               4216453                                             NY
                                               Bar number                                          State




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 Fill in this information to identify the case:
                                                                    ,
 United States Bankruptcy Court for the:
                       Southern District of New York
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                           Chapter   11                                          amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title 11 of the United
States Code. The Debtors have moved for joint administration of these cases under the case number assigned to
the chapter 11 case of Celsius Network LLC.

 Celsius Network Inc.
 Celsius KeyFi LLC
 Celsius Lending LLC
 Celsius Mining LLC
 Celsius Network Limited
 Celsius Network LLC
 Celsius Networks Lending LLC
 Celsius US Holding LLC
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                              )
     In re:                                                   )     Chapter 11
                                                              )
     CELSIUS NETWORK LLC,                                     )     Case No. 22-___________(___)
                                                              )
                                Debtor.                       )
                                                              )

                                       LIST OF EQUITY SECURITY HOLDERS1

                                                                                                  Percentage of
                 Equity Holder                        Address of Equity Holder
                                                                                                   Equity Held
                                                       121 River Street, PH05
       Celsius US Holding LLC                                                                          100%
                                                     Hoboken, New Jersey 07030




 1
        This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules of
        Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as of the date of
        commencement of the chapter 11 case.
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                       )
  In re:                                               )      Chapter 11
                                                       )
  CELSIUS NETWORK LLC,                                 )      Case No. 22-___________(___)
                                                       )
                           Debtor.                     )
                                                       )

                                     CORPORATE OWNERSHIP STATEMENT

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
 following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
 class of the debtor’s equity interest:

                Shareholder                                Approximate Percentage of Shares Held
  Celsius US Holding LLC                                                  100%
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    Fill in this information to identify the case:

    Debtor name        Celsius Network LLC, et al.

    United States Bankruptcy Court for the:     Southern District of New York                                                                 Check if this is an
    Case number (If known):                                                            (State)                                                 amended filing




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50
  Largest Unsecured Claims and Are Not Insiders                            12/15

 A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
 secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50
 largest unsecured claims.


 The Debtors have paid all general unsecured claims against the Debtors that have been billed of the Petition Date.

            Name of            Name, telephone number, and               Nature of      Indicate if   Amount of unsecured claim
          creditor and        email address of creditor contact          the claim       claim is
           complete                                                         (for       contingent,    If the claim is fully unsecured, fill in only unsecured claim
             mailing                                                     example,     unliquidated,   amount. If claim is partially secured, fill in total claim
            address,                                                   trade debts,    or disputed    amount and deduction for value of collateral or setoff to
         including zip                                                 bank loans,                    calculate unsecured claim.
              code                                                     professiona
                                                                        l services,
                                                                            and                                      Deduction
                                                                       government                       Total        for value
                                                                         contracts)                   claim, if          of
                                                                                                      partially      collateral
                                                                                                      secured         or setoff             Unsecured claim
   1    Pharos USD            Email - admin@lanternventures.com        Loan Party     Unliquidated                                                      $81,081,803
        Fund SP
        Pharos Fund SP
        Landmark
        Square, 1st
        Floor
        64 Earth Close
        PO Box 715
        Grand Cayman
        KY-1107
        Cayman Islands
   2    On File               On File                                   Customer      Unliquidated                                                      $40,586,695




   3    On File               On File                                  Customer /     Unliquidated                                                      $38,359,717
                                                                       Loan Party




   4    On File               On File                                   Customer      Unliquidated                                                      $24,628,833




Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                        page 1
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 Debtor             Celsius Network LLC, et al.                          Case Number (if known)
                    Name



   5      On File              On File                            Customer /     Unliquidated                              $20,998,387
                                                                  Loan Party




   6      On File              On File                            Customer       Unliquidated                              $19,369,656




   7      On File              On File                            Customer /     Unliquidated                              $15,812,046
                                                                  Loan Party




   8      On File              On File                            Customer /     Unliquidated                              $15,571,124
                                                                  Loan Party




   9      On File              On File                            Customer /     Unliquidated                              $15,133,797
                                                                  Loan Party




  10      On File              On File                            Customer       Unliquidated                              $14,569,039




  11      ICB Solutions        Phone - 614-403-0997               Customer       Unliquidated                              $13,343,960
          W Royal Forest
          Blvd
          Columbus, OH
          43214


  12      The Caen Group       Phone - 760-803-0712               Customer       Unliquidated                              $13,077,800
          LLC
          Detwiler Road
          Escondido, CA
          92029


  13      Alameda              Email - sam@alamded-research.com   Loan Party     Unliquidated                              $12,770,047
          Research LTD         Phone - 774-270-0676
          Tortola Pier
          Park, Building 1
          Second Floor
          Wickhams Cay I
          Road Town,
          Tortola VG1110
          British Virgin
          Islands




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                    Name



  14      B2C2 LTD             Email - middleoffice@B2C2.com     Loan Party     Unliquidated                               $11,814,949
          86-90 Paul           Phone - 44-203-973-4780
          Street
          London EC2A
          4NE
          United
          Kingdom
  15      Covario AG           Email - brokerage@covar.io        Customer       Unliquidated                               $11,310,531
          Landys+Gyr           Phone - 414-154-11382
          Strasse 1
          Zug 6300
          Switzerland


  16      On File              On File                           Customer       Unliquidated                               $11,168,614




  17      On File              On File                           Customer       Unliquidated                               $11,131,962




  18      On File              On File                           Customer       Unliquidated                               $11,089,080




  19      On File              On File                           Customer       Unliquidated                               $10,378,951




  20      On File              On File                           Customer       Unliquidated                               $10,328,557




  21      Invictus Capital     Email - spc@invictuscapital.com   Customer       Unliquidated                                $9,885,589
          Financial
          Technologies
          SPC
          67 Fort Street
          Grand Cayman,
          KY1-1102
          Cayman Islands
  22      On File              On File                           Customer       Unliquidated                                $9,790,947




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims        Page 3
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 Debtor             Celsius Network LLC, et al.                             Case Number (if known)
                    Name



  23      On File              On File                               Customer       Unliquidated                           $9,678,180




  24      On File              On File                               Customer /     Unliquidated                           $9,331,765
                                                                     Loan Party




  25      On File              On File                               Customer /     Unliquidated                           $9,087,167
                                                                     Loan Party




  26      On File              On File                               Customer       Unliquidated                           $8,499,705




  27      Strobilus LLC        Phone - 617-640-3914                  Customer /     Unliquidated                           $7,850,694
          159 Main St.                                               Loan Party
          Nashua, NH
          03060



  28      Crypto10 SP -        Email -                               Customer       Unliquidated                           $7,829,667
          Segregated           c10_spc@Invictuscapital.com
          Portfolio of
          Invictus Capital
          Financial
          Technologies
          SPC
          67 Fort Street,
          1st Floor,
          Artemis House
          George Town,
          KY1-1102
          Cayman Islands
  29      Altcointrader        Email - richard@altcointrader.co.za   Customer       Unliquidated                           $7,593,905
          (Pty) Ltd            Phone - 278-2411-0866
          229 Ontdekkers
          Road, Horizon,
          Roodepoort
          1724
          South Africa
  30      On File              On File                               Customer /     Unliquidated                           $7,460,897
                                                                     Loan Party




  31      On File              On File                               Customer       Unliquidated                           $7,280,505




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                    Name



  32      On File              On File                           Customer      Unliquidated                                $7,207,770




  33      On File              On File                           Customer      Unliquidated                                $6,754,458




  34      Deferred 1031        Phone - 425-766-7107              Customer      Unliquidated                                $6,684,659
          Exchange, LLC
          Lakeland Ave.
          Dover, DE
          19901


  35      On File              On File                           Customer      Unliquidated                                $6,499,769




  36      On File              On File                           Customer      Unliquidated                                $6,370,197




  37      On File              On File                          Customer /     Unliquidated                                $6,349,731
                                                                Loan Party




  38      On File              On File                          Customer /     Unliquidated                                $6,268,520
                                                                Loan Party




  39      On File              On File                          Customer /     Unliquidated                                $6,099,136
                                                                Loan Party




  40      On File              On File                           Customer      Unliquidated                                $5,909,689




  41      On File              On File                           Customer      Unliquidated                                $5,851,623




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims       Page 5
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                    Name



  42      On File              On File                           Customer      Unliquidated                                $5,807,454




  43      On File              On File                          Customer /     Unliquidated                                $5,788,622
                                                                Loan Party




  44      On File              On File                          Customer /     Unliquidated                                $5,783,350
                                                                Loan Party




  45      On File              On File                           Customer      Unliquidated                                $5,747,666




  46      On File              On File                          Customer /     Unliquidated                                $5,746,814
                                                                Loan Party




  47      On File              On File                           Customer      Unliquidated                                $5,710,805




  48      On File              On File                           Customer      Unliquidated                                $5,710,207




  49      On File              On File                           Customer      Unliquidated                                $ 5,664,096




  50      On File              On File                           Customer      Unliquidated                                $5,588,694




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                                                 OFFICER’S CERTIFICATE

                                               CELSIUS NETWORK INC.
                                           CELSIUS NETWORKS LENDING LLC
                                              CELSIUS US HOLDING LLC
                                                CELSIUS NETWORK LLC
                                                CELSIUS LENDING LLC
                                                 CELSIUS MINING LLC
                                                  CELSIUS KEYFI LLC


                                                             July 13, 2022

            The undersigned, Alex Mashinsky, as (a) the chief executive officer, an authorized signatory of
            Celsius Network Inc., Celsius Networks Lending LLC, Celsius US Holding LLC, Celsius Network
            LLC, and Celsius Lending LLC, (b) the Executive Chairman of the Board, and authorized
            signatory of Celsius Mining LLC, and (c) a member of the Board and an authorized signatory of
            Celsius KeyFi LLC (each, a “Company” and, collectively, the “Companies”), hereby certifies as
            follows:

                    1.      I am an authorized signatory of the Companies, and, as such, I am familiar with the
            facts herein certified and I am duly authorized to certify the same on behalf of the Companies.

                    2.     Attached hereto is a true, complete, and correct copy of the resolutions
            (the “Resolutions”) of the Companies’ boards of directors, managers, or sole member, as
            applicable (collectively, the “Boards”), duly adopted at properly convened meetings of the Boards
            of July 13, 2022, in accordance with the applicable limited liability company agreements, articles
            of incorporation, articles of association, operating agreements, bylaws, and/or similar governing
            documents (as amended or amended and restated) of each Company.

                    3.     Since their adoption and execution, the Resolutions have not been modified,
            rescinded, or amended and are in full force and effect as of the date hereof, and the Resolutions
            are the only resolutions adopted by the Boards relating to the authorization and ratification of all
            corporate actions taken in connection with the matters referred to therein.




                                                    [Signature page follows]
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                    IN WITNESS WHEREOF, I have hereunto set my hand on behalf of the Companies as of
            the date hereof.

                                                                         CELSIUS NETWORK INC.
                                                                         CELSIUS NETWORKS LENDING LLC
                                                                         CELSIUS US HOLDING LLC
                                                                         CELSIUS NETWORK LLC
                                                                         CELSIUS LENDING LLC
                                                                         CELSIUS MINING LLC
                                                                         CELSIUS KEYFI LLC


                                                                         By:   ______________________________
                                                                         Name: Alex Mashinsky,
                                                                               Authorized Signatory




                                                [Signature page to Officer’s Certificate]
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                                      OMNIBUS RESOLUTIONS OF THE BOARDS

                                                   Dated as of July 13, 2022

                    The undersigned, comprising all of the members of the board of directors, the manager, or
            the sole member, as applicable (each, a “Board”), of each of the applicable entities set forth on
            Exhibit A attached hereto (each, a “Company” and, collectively, the “Companies”), hereby take
            the following actions and adopt the following resolutions (the “Resolutions”) pursuant to (as
            applicable) the articles of incorporation, limited liability company agreement, operating
            agreement, bylaws, or similar governing document (in each case as amended or amended and
            restated) of each Company and the laws of the state, province or country of formation of each
            Company as set forth next to each Company’s name on Exhibit A.

                    WHEREAS, each applicable Board has reviewed and considered presentations by the
            management and the financial and legal advisors of the Companies regarding the liabilities and
            liquidity situation of each Company, the strategic alternatives available to each Company, and the
            effect of the foregoing on each Company’s business.

                    WHEREAS, each applicable Board has had the opportunity to consult with the
            management and the financial and legal advisors of the Companies and to fully consider each of
            the strategic alternatives available to the Companies.

            NOW, THEREFORE, BE IT,

            Chapter 11 Filing

                     RESOLVED, that, in the judgment of each applicable Board, it is desirable and in the best
            interests of the Companies, their stakeholders, their creditors, and other parties in interest, that
            each Company shall be, and hereby is, authorized to file, or cause to be filed, a voluntary petition
            for relief (each, a “Chapter 11 Case”) under the provisions of chapter 11 of the Bankruptcy Code
            in the United States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
            Court”) and any other petition for relief or recognition or other order that may be desirable under
            applicable law in the United States.

                     RESOLVED, that any of the Chief Executive Officer, Chief Financial Officer, any
            Executive Vice President, General Counsel, and Secretary or any other duly appointed officer of
            each Company (collectively, the “Authorized Signatories”), acting alone or with one or more other
            Authorized Signatories be, and they hereby are, authorized, empowered, and directed to execute
            and file on behalf of each Company all petitions, schedules, lists, and other motions, papers, or
            documents, and to take any and all other action that they deem necessary or proper to obtain such
            relief, including, without limitation, any action necessary to maintain the ordinary course operation
            of each Company’s business.

            Retention of Professionals

                    RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
            directed to retain the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP
            (together, “Kirkland”) as general bankruptcy counsel to represent and assist each Company in


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            connection with its Chapter 11 Case and in carrying out its duties under the Bankruptcy Code, and
            to take any and all actions to advance each Company’s rights and obligations, including filing any
            motions, objections, replies, applications, or pleadings; and in connection therewith, each of the
            Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
            appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
            application for authority to retain the services of Kirkland.

                    RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
            directed to retain the firm Alvarez & Marsal North America, LLC (“A&M”) as financial advisors
            to represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to
            take any and all actions to advance each Company’s rights and obligations; and in connection
            therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and
            directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
            filed an appropriate application for authority to retain the services of A&M.

                    RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
            directed to retain the firm Centerview Partners LLC (“Centerview”) as investment bankers to
            represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to
            take any and all actions to advance each Company’s rights and obligations; and in connection
            therewith, each of the Authorized Signatories, with power of delegation, is hereby authorized and
            directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
            filed an appropriate application for authority to retain the services of Centerview.

                    RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
            directed to retain the firm Latham & Watkins, LLP (“Latham”) as regulatory counsel to represent
            and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
            and all actions to advance each Company’s rights and obligations; and in connection therewith,
            each of the Authorized Signatories, with power of delegation, is hereby authorized and directed to
            execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
            appropriate application for authority to retain the services of Latham.

                    RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
            directed to retain the firm of Stretto, Inc. (“Stretto”) as notice and claims agent to represent and
            assist each Company in carrying out its duties under the Bankruptcy Code, and to take any and all
            actions to advance each Company’s rights and obligations; and in connection therewith, each of
            the Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
            appropriate retention agreements, pay appropriate retainers, and to cause to be filed appropriate
            applications for authority to retain the services of Stretto.

                    RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
            directed to retain any other professionals to assist each Company in carrying out its duties under
            the Bankruptcy Code, and to take any and all actions to advance each Company’s rights and
            obligations; and in connection therewith, each of the Authorized Signatories, with power of
            delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
            appropriate retainers and fees, and to cause to be filed an appropriate application for authority to
            retain the services of any other professionals as necessary.


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                    RESOLVED, that each of the Authorized Signatories be, and hereby is, with power of
            delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
            motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
            and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
            and to take and perform any and all further acts and deeds that each such Authorized Signatory
            deems necessary, proper, or desirable in connection with each Company’s Chapter 11 Case, with
            a view to the successful prosecution of such case.

            General

                    RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
            Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be,
            and they hereby are, authorized and empowered, in the name of and on behalf of each Company,
            to take or cause to be taken any and all such other and further action, and to execute, acknowledge,
            deliver, and file any and all such agreements, certificates, instruments, and other documents and
            to pay all expenses, including but not limited to filing fees, in each case as in such Authorized
            Signatory’s judgment, shall be necessary, advisable, or desirable in order to fully carry out the
            intent and accomplish the purposes of the Resolutions adopted herein.

                    RESOLVED, that each applicable Board has received sufficient notice of the actions and
            transactions relating to the matters contemplated by the foregoing Resolutions as may be required
            by the organizational documents of each Company or hereby waive any right or requirement to
            have received such notice.

                   RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
            by the foregoing Resolutions done in the name of and on behalf of each Company, which acts
            would have been approved by the foregoing Resolutions except that such acts were taken before
            the adoption of these Resolutions, are hereby in all respects approved and ratified as the true acts
            and deeds of each Company with the same force and effect as if each such act, transaction,
            agreement, or certificate has been specifically authorized in advance by resolution of each
            applicable Board.

                   RESOLVED, that each of the Authorized Signatories (and their designees and delegates)
            be, and hereby is, authorized and empowered to take all actions or to not take any action in the
            name of each Company with respect to the transactions contemplated by these Resolutions
            hereunder, as such Authorized Signatory shall deem necessary or desirable in such Authorized
            Signatory’s reasonable business judgment as may be necessary or convenient to effectuate the
            purposes of the transactions contemplated herein.

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                                                             EXHIBIT A

                                                             Companies

                                       Company                           Jurisdiction
                               Celsius US Holding LLC                     Delaware
                                 Celsius Mining LLC                       Delaware
                                 Celsius Network LLC                      Delaware
                                 Celsius Lending LLC                      Delaware
                                  Celsius KeyFi LLC                       Delaware
                                 Celsius Network Inc.                     Delaware
                            Celsius Networks Lending LLC                  Delaware
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    Fill in this information to identify the case and this filing:

   Debtor Name          Celsius Network LLC

   United States Bankruptcy Court for the:                Southern District of New York
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement,
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       7/13/2022                                    /s/ Alex Mashinsky
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Alex Mashinsky
                                                                                 Printed name
                                                                                 Chief Executive Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
